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                        81st OREGON LEGISLATIVE ASSEMBLY--2021 Regular Session



                                                      Enrolled
                                   House Bill 2560
Sponsored by Representative MEEK, Senator STEINER HAYWARD; Representatives DEXTER,
   GRAYBER, MARSH, MCLAIN, REARDON, REYNOLDS, SALINAS, SCHOUTEN, SMITH
   WARNER, SOLLMAN, VALDERRAMA, WILDE, WILLIAMS, Senator MANNING JR (Preses-
   sion filed.)



                                       CHAPTER .................................................



                                                           AN ACT


Relating to expanding remote participation of public in self-government through use of technology;
    amending ORS 192.670.

Be It Enacted by the People of the State of Oregon:

    SECTION 1. ORS 192.670 is amended to read:
    192.670. (1) Any meeting, including an executive session, of a governing body of a public body
which is held through the use of telephone or other electronic communication shall be conducted
in accordance with ORS 192.610 to 192.690.
    (2) When telephone or other electronic means of communication is used and the meeting is not
an executive session, the governing body of the public body shall make available to the public at
least one place where, or at least one electronic means by which, the public can listen to the com-
munication at the time it occurs. A place provided may be a place where no member of the gov-
erning body of the public body is present.
    (3) All meetings held by a governing body of a public body, excluding executive sessions,
must provide to members of the general public, to the extent reasonably possible, an oppor-
tunity to:
    (a) Access and attend the meeting by telephone, video or other electronic or virtual
means;
    (b) If in-person oral testimony is allowed, submit during the meeting oral testimony by
telephone, video or other electronic or virtual means; and
    (c) If in-person written testimony is allowed, submit written testimony, including by
electronic mail or other electronic means, so that the governing body is able to consider the
submitted testimony in a timely manner.
    (4) The provisions of subsection (3) of this section:
    (a) Apply to hearings under ORS 197.763, 215.402 to 215.438 and 215.700 to 215.780 regard-
less of whether a governing body or governing body’s designee, including a hearings officer,
conducts the hearing; and
    (b) Do not apply to contested case hearings under ORS chapter 183.




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                                                                                                               Exhibit 1
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Passed by House April 10, 2021                                                              Received by Governor:

                                                                                            ........................M.,........................................................., 2021
       ..................................................................................
                                                                                            Approved:
           Timothy G. Sekerak, Chief Clerk of House

                                                                                            ........................M.,........................................................., 2021

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                                 Tina Kotek, Speaker of House
                                                                                                         ..................................................................................
                                                                                                                                                  Kate Brown, Governor
Passed by Senate May 27, 2021
                                                                                            Filed in Office of Secretary of State:

       ..................................................................................   ........................M.,........................................................., 2021
                       Peter Courtney, President of Senate


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                                                                                                                             Shemia Fagan, Secretary of State




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